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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

     In re:                                                        Chapter 11

     YELLOW CORPORATION, et al.,1                                  Case No. 23-11069 (CTG)
                                   Debtors.                        (Jointly Administered)


                          NOTICE OF APPEARANCE AND REQUEST FOR
                           ELECTRONIC NOTICE FOR UNITED STATES
                          GOVERNMENT ATTORNEY BENJAMIN KELLY

              PLEASE TAKE NOTICE that the Pension Benefit Guaranty Corporation (“PBGC”), an

    agency of the United States Government and a creditor in the above-captioned cases, hereby files

    this notice of appearance and request for electronic notice pursuant to Rule 9010(b) of the Federal

    Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and requests, pursuant to Section

    1109(b) of Title 11, United States Code and Bankruptcy Rules 2002(j)(4), 3017(d) and 9007, that

    notice of all matters which may come before the Court concerning the above-captioned cases and

    debtors be given to and served upon PBGC as listed below.

              This request includes, inter alia, the notices and papers referred to in Bankruptcy Rules

    2002, 3017 (including all disclosure statements and plans of reorganization) and 9007, notices of

    any orders, applications, complaints, demands, hearings, motions, petitions, pleadings or

    requests, and any other documents brought before this Court in these cases, whether formal or

    informal, ex parte or on notice, written or oral, or transmitted or conveyed by mail, electronic

    mail, personal delivery, telephone, facsimile, or otherwise.




1
 A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’ principal
place of business and the Debtors’ service address in these chapter 11 cases is: 511500 Outlook Street, Suite 400,
Overland Park, Kansas 66211.
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       PLEASE TAKE FURTHER NOTICE that this entry of appearance and request for notice

is without prejudice to PBGC’s rights, remedies, and claims against other entities or any objection

that may be made to the jurisdiction or venue of the Court or venue of these cases, and shall not

be deemed or construed to be a waiver of PBGC’s rights: (i) to have final orders and non-core

matters entered only after de novo review by a district court, (ii) to trial by jury in any proceedings

so triable in these cases or in any controversy or proceeding related to these cases,

(iii) to have the district court withdraw the reference in any matter subject to mandatory or

discretionary withdrawal, or (iv) to assert any other rights, claims, actions, defenses, setoffs or

recoupments to which PBGC is or may be entitled in law or in equity, all of which PBGC

expressly reserves.


Dated: January 25, 2024                         Respectfully submitted,
       Washington, D.C.
                                                /s/ Benjamin Kelly
                                                Benjamin Kelly, Deputy Assistant General Counsel
                                                Bar No. DC 1632617
                                                Pension Benefit Guaranty Corporation
                                                Office of the General Counsel
                                                445 12th Street, S.W.
                                                Washington, D.C. 20024
                                                Telephone: (202) 229-4097
                                                Emails: kelly.benjamin@pbgc.gov and
                                                         efile@pbgc.gov




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                                    CERTIFICATE OF SERVICE


       I hereby certify, that on this 25th day of January 2024, the Notice of Appearance and

Request for Electronic Notice for United States Government Attorney Benjamin Kelly and the

Certification of United States Government Attorney Benjamin Kelly were served via CM/ECF

on all parties registered to receive notices for these cases:

Patrick J. Nash, Jr. (admitted pro hac vice)       Jane Leamy
David Seligman (admitted pro hac vice)             Richard Shepacarter
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Counsel to the Debtors



                                                  /s/ Benjamin Kelly
                                                  Benjamin Kelly, Deputy Assistant General Counsel
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